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16
                        UNITED STATES DISTRICT COURT
17                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
18
      WHITEWATER DRAW NATURAL                  Case No. 3:16-cv-2583
19    RESOURCE CONSERVATION
      DISTRICT, et al.,                        PROOF OF SERVICE
20
            Plaintiffs,                        Date: July 3, 2017
21                                             Time: 10:30 a.m.
                   v.                          Courtroom: 5B
22
      JOHN F. KELLY, et al.,
23                                             Hon. H. James Lorenz
                   Defendants.
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28   1                                                      Case No. 3:16-cv-2583
     Case 3:16-cv-02583-L-BLM Document 32-3 Filed 06/01/17 PageID.1648 Page 2 of 2




                               CERTIFICATE OF SERVICE
 1

 2         I hereby certify that on June 1, 2017, the Federal Defendants’ Motion to Stay
 3   Litigation and associated papers (including the corrected Memorandum in Support)
 4   and this Certificate of Service were filed with the Clerk of the Court via the
 5   CM/ECF system, which will provide service to counsel for the parties.
 6
                                            /s/ Devin T. Kenney
 7                                          Devin T. Kenney
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